Case 18-15691-CMG Doc 43-10 Filed 05/08/18 Entered 05/08/18 21:30:37             Desc
       Exhibit H - 5-1917 order in Engelberg Derivative Litigation Page 1 of 5




                              Exhibit H
FILED: NASSAU COUNTY CLERK 05/18/2017                                           INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 334            Doc 43-10 Filed 05/08/18 Entered 05/08/18     21:30:37
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                Exhibit H - 5-1917 order in Engelberg Derivative Litigation Page 2 of 5




                                              1 of 4
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                Exhibit H - 5-1917 order in Engelberg Derivative Litigation Page 3 of 5




                                              2 of 4
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                Exhibit H - 5-1917 order in Engelberg Derivative Litigation Page 4 of 5




                                              3 of 4
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                Exhibit H - 5-1917 order in Engelberg Derivative Litigation Page 5 of 5




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